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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

ERMA LLOYD,
                       Plaintiff,                             :

               v.

ACADEMY COLLECTION SERVICES, INC.;                            :       Civil Action No.:
PETE;                                                         :
DORIS.                                                        :
                                                              :
                       Defendants.



                                          COMPLAINT

A.     Jurisdiction and Venue


       1.      Jurisdiction arises under 15 U.S.C. § 1692k(d), 28 U.S.C. §§ 1331, 1337(a),

together with the pendent jurisdiction of the court. Supplemental jurisdiction over Plaintiff’s

state law claims is granted by 28 U.S.C. § 1367(a). Declaratory relief is available pursuant to 28

U.S.C. §§ 2201 and 2202.


       2.      Venue lies in this judicial district in that the events which gave rise to this claim

occurred here and the property which is the subject of the action is situated within this district.

B.     Parties

       3.      Plaintiff Erma Lloyd is a natural person who resides at 539 West Godfrey,

Philadelphia, PA 19126.

       4.        Defendant ACADEMY COLLECTION SERVICES, INC. is a corporation with

principal offices at 10965 Decatur Road, Philadelphia, PA 19154. Defendant regularly attempts

to collect debts alleged to be due another and is a debt collector as defined by 15 U.S.C.

§1692a(6).
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        5.       Defendant Pete is a natural person employed by Defendant as a collection agent

and is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

        6.       Defendant Doris is a natural person employed by Defendant as a collection agent

and is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

C.      Factual Allegations

        7.       Prior to the collection activity hereinafter described, plaintiff had a credit card

debt with Bank of America [hereinafter “the debt”].

        8.       Prior to the collection activity hereinafter described, plaintiff made an agreement

with Academy to pay down the debt through bi-weekly payments of $100.00.

        9.       On or about April, 2008, after approximately two (2) weeks of making the

aforesaid payments defendant Academy continued collection calls to collect the debt in one lump

sum payment.

        10.      Thereafter and continuing to the present, defendant Academy has called plaintiff’s

place of work, the Offices of Pennsylvania State Senator Shirley Kitchen every day of the work

week and every day of the week placed calls to plaintiff’s home to speak to plaintiff about the

debt.

        11.      More specifically, defendant Academy, by and through its employees, has placed

the following specific calls to plaintiff to collect the debt:

              a) April, 2008 – Defendant Pete calls plaintiff at work and in an aggressive tone

                 offensive to plaintiff stated “you created the debt” “you need to pay the whole

                 thing now”. After plaintiff explained that was all she could afford, defendant Pete

                 placed plaintiff on hold for 3 minutes and upon return to the phone line advised

                 “our records show you can pay more” without reference to what records he was
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                referring to;

             b) Defendant Doris called plaintiff every other day after plaintiff had been paying

                installments towards the debt and advised her paying in installments is not

                enough, “you can pay more” in an effort to have her satisfy the entire debt.

       12.      When contacted initially at her place of employment, plaintiff advised defendants

that she was not permitted to take such calls at work and to desist further from such calls.

       13.       On or about May 23 and 28, 2008, Doris called plaintiff’s place of work and

communicated with the receptionist Bonita Myricks, first in a friendly tone, “Hi is this is Doris,

is Erma there?” and then, when told by Ms. Myricks that she was unavailable and could take a

message, stated in an irritated tone, “I’m calling about her debt”.

D.     Cause of Action

                                    Violations of the FDCPA

       14.      At all times relevant hereto Defendants were attempting to collect an alleged debt

to it which was incurred for personal, family or household purposes and is a “debt” as defined by

15 U.S.C. § 1692a(5).

       15.       Defendants, by their conduct as described above, violated the FDCPA as follows:


             a) §1692d, By securing an installment payment agreement and then seeking to
                breach it by pursuing collection of a full payment engaged in conduct the natural
                consequence of which is to harass, oppress, or abuse a person;

             b) §1692f, By securing an installment payment agreement and then seeking to
                breach it by pursuing collection of a full payment engaged in unfair or
                unconscionable means to collect or attempt to collect the alleged debt

             c) §1692d(5), By the volume of repeated calls, engaged in conduct the natural
                consequence of which is to harass, oppress, or abuse a person;

             d) §1692d(2), Used abusive language;
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             e) §1692c(A)(3), After being advised to desist, continued to contact place of
                employment knowing that the employer prohibits such communications

             f) § 1692 b(2) Contact of Third Party: Stated that the consumer owes any debt.



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A. Declaratory judgment that defendants’ conduct violated the FDCPA.

       B. Statutory damages pursuant to 15 U.S.C. § 1692k;

       C. Damages for emotional distress;

       D. Reasonable attorney fees and costs.


                                        TRIAL BY JURY

       15.      Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.

amend. 7. Fed. R. Civ. Pro. 38.




Dated: June 24, 2008                                  RC 935
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